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                                                                    THE HONORABLE JAMES ROBART
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 5
                                    UNITED STATES DISTRICT COURT
 6                                 WESTERN DISTRICT OF WASHINGTON

 7   BRADY EDMONDS, on behalf of himself and
 8   those similarly situated,
                                                           NO. 2:19‐cv‐01613‐JLR
 9                          Plaintiff,                     PLAINTIFF’S REPLY IN SUPPORT OF
            vs.                                            PLAINTIFF’S PREDISCOVERY MOTION
10
                                                           FOR ISSUANCE OF NOTICE TO SIMILARLY
11   AMAZON.COM, INC., a Foreign for Profit                SITUATED INDIVIDUALS UNDER 29 U.S.C.
     Corporation; AMAZON LOGISTICS, INC., a                § 216(b)
12   Foreign for Profit Corporation; AMAZON.COM
     SERVICES, INC., a Foreign for Profit Corporation,
13

14                          Defendants.

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     PLAINTIFF’S REPLY IN SUPPORT OF PLAINTIFF’S PREDISCOVERY
     MOTION FOR ISSUANCE OF NOTICE TO SIMILARLY SITUATED                TERRELL MARSHALL LAW GROUP PLLC
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 1                                          I. INTRODUCTION
 2            The Court’s inquiry at this stage is limited. The sole issue is whether Plaintiff has met
 3   his low burden of demonstrating that the employees to whom he seeks to send notice are
 4   similarly situated. Plaintiff has easily exceeded his low burden. Amazon’s opposition is devoid
 5   of any argument otherwise. In apparent recognition that the facts and applicable law can lead
 6   to only one result here—issuance of notice—Amazon’s opposition focuses entirely on policy
 7   arguments that have been rejected by other courts as misplaced in the context of conditional
 8   certification. Because Plaintiff has met his burden, notice is due to issue.
 9            Plaintiff’s motion demonstrates that Plaintiff and the proposed opt‐in class members
10   to whom notice should issue are similarly situated because “they share a similar issue of law
11   or fact material to the disposition of their FLSA claims.” Campbell v. City of Los Angeles, 903
12   F.3d 1090, 1117 (9th Cir. 2018). It is undisputed that all of the drivers: (1) share a common job
13   title; (2) performed similar duties; (3) were paid in the same manner; (4) assert the same
14   claims under the FLSA; and (5) all allege they were jointly employed by Amazon such that
15   Amazon is jointly and severely liable for any violations of the FLSA. Amazon fails to present
16   any evidence to the contrary. As such, Plaintiff’s motion should be granted and notice should
17   issue.
18            In tacit recognition that it cannot rebut Plaintiff’s demonstration that he and the
19   proposed class are similarly situated, Amazon attempts to divert the Court’s attention to
20   fairness and procedural considerations—considerations the Ninth Circuit repeatedly
21   admonishes have no bearing on the similarly situated analysis. Id. at 1115. While these
22   arguments may, at first blush, exhibit some degree of curbside appeal, they are nothing more
23   than a series of red herrings. While it is unsurprising that Amazon would seek to reframe the
24   simple issue before the Court and hide behind policy arguments, those arguments are devoid
25   of merit.
26

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 1          Amazon seeks to recast itself as the victim, while the victims—those intended to be
 2   protected by the FLSA—are the low‐wage workers whom Amazon takes advantage of through
 3   its DSP model. Amazon contends that permitting notice to issue to thousands of low‐wage
 4   employees who were subjected to the same rampant wage theft scheme would be unfair and
 5   that it would be inconvenienced by having to defend itself against the allegations that it
 6   presided over a scheme which resulted in the theft of tens of millions of dollars in wages from
 7   its drivers—the very employees on whom its business relies. What would really be unfair
 8   would be to allow Amazon, a company worth a trillion dollars, to continue to escape FLSA
 9   liability by cloaking itself in its DSP model. Fortunately, the facts and law require the Court to
10   disregard Amazon’s improperly raised policy arguments. Plaintiff has met his burden, and
11   thus, notice should issue.
12                                            II. ARGUMENT
13   A.     At this Stage, Plaintiff Has Met His Low Burden, and Nationwide Notice Should Issue.
14          1.      Plaintiff Has Demonstrated that He and the Proposed Class Members Are
                    Similarly Situated.
15
            At the notice stage, Plaintiff bears the burden of demonstrating that he is similarly
16
     situated to the proposed class to whom he seeks to send notice, but Plaintiff’s burden is
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     lenient, and loosely akin to a plausibility standard, commensurate with the stage of the
18
     proceedings. Campbell v. City of Los Angeles, 903 F.3d 1090, 1109 (9th Cir. 2018). In Campbell
19
     v City of Los Angeles, the Ninth Circuit articulated a definition for what is means to be similarly
20
     situated, stating “in light of the collective action’s reason for being within the FLSA, that party
21
     plaintiffs must be alike with regard to some material aspect of their litigation. That is, the FLSA
22
     requires similarity of the kind that ‘allows . . . plaintiffs the advantage of lower individual costs
23
     to vindicate rights by the pooling of resources.’” Campbell, 903 F.3d at 1114 (emphasis
24
     added), citing Hoffmann‐La Roche Inc. v. Sperling, 493 U.S. 165, 167, 110 S.Ct. 482, 107
25
     L.Ed.2d 480 (1989). “That goal is only achieved—and, therefore, a collective can only be
26
     maintained—to the extent party plaintiffs are alike in ways that matter to the disposition of
27
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 1   their FLSA claims. If the party plaintiffs’ factual or legal similarities are material to the
 2   resolution of their case, dissimilarities in other respects do not defeat collective treatment.”
 3   Id. Stated differently, if the pleadings, declarations, and other limited evidence at the first
 4   stage demonstrate that the proposed class members are plausibly alike in ways that matter to
 5   the disposition to their FLSA claims, then notice is due to issue in order to give the class
 6   members the ability to collectively vindicate their rights against their employer’s illegalities.
 7          Plaintiff meets the lenient burden to disseminate notice to the proposed class he seeks
 8   to represent. Plaintiff presented evidence that Amazon has a nationwide policy whereby it
 9   requires all of its drivers (“DAs”) to be “employed” and paid through a subcontracting
10   company, or a DSP, in order to shield itself from FLSA liability, while maintaining control over
11   every aspect of the DAs’ employment and job duties. Plaintiff presented evidence—none of
12   which Amazon attempted to rebut—demonstrating that regardless of the DSP through which
13   a DA is paid, Amazon: (i) uniformly controls every aspect of the DAs’ employment and the
14   delivery process; (ii) tracks DA performance; (iii) has the ability to hire and fire DAs; and (iv)
15   has management level employees responsible for DA and DSP management. The evidence
16   demonstrates this is true for all of Amazon’s DAs nationwide (i.e., the proposed opt‐in class).
17   Moreover, Plaintiff presented evidence that former DAs across the United States have been
18   subjected to the same FLSA violations regardless of the DSP that compensated them—
19   specifically, they were compensated a day rate without receiving any overtime compensation
20   for the hours they worked over forty each week.
21          The claims of every DA within the defined class rely on a common theory and common
22   facts, and all will require the resolution of the same two questions: (1) whether Amazon is
23   their employer under the FLSA, and thus liable for unpaid overtime; and (2) whether the day‐
24   rate only scheme violated the FLSA’s overtime provisions. The evidence necessary to prove
25   each of the proposed opt‐in class members’ claims will be the same in aspects that are
26   material to the disposition of the class’ case as a whole. Furthermore, at this stage in the
27
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 1   litigation, Plaintiff needs only to demonstrate that similarity is plausible, not that the
 2   proposed class members are in fact similarly situated. Because Plaintiff has met his burden,
 3   notice should issue to all DAs within the proposed class nationwide.
 4          2.      Although Not Required, Plaintiff Did Present Plausible Evidence of A Common
                    Unlawful Policy by Amazon.
 5
            In tacit recognition of Plaintiff’s demonstration that he and the proposed class are
 6
     alike in regard to the material aspects of the litigation—i.e., that Plaintiff has exceeded the
 7
     Ninth Circuit’s burden regarding similarly situated analysis—Amazon argues that Plaintiff has
 8
     not presented evidence of a common unlawful policy. See D.E. 50 at 12‐16. Amazon’s
 9
     argument in this regard is both misplaced and factually inaccurate. A common unlawful policy
10
     is not required to demonstrate that the proposed class is similarly situated. Even assuming
11
     arguendo that such a demonstration were required however, Plaintiff has demonstrated it is
12
     plausible Amazon has a common unlawful policy that is applicable to all of its DAs nationwide
13
     whereby it requires them to be paid through a DSP in order to shield itself from FLSA liability.
14
            Notably, Amazon’s argument in this regard was recently rejected by the court in a
15
     nearly identical case against Amazon’s competitor, FedEx. See Sullivan‐Blake v. FedEx Ground
16
     Package Sys., Inc. , at *4 (W.D. Pa. Sept. 30, 2019). In Sullivan‐Blake, FedEx argued plaintiffs
17
     failed to identify a uniform FedEx compensation policy that deprived them and the members
18
     of the proposed collective action of overtime pay because the ISPs (FedEx’s equivalent of
19
     Amazon’s DSPs) who paid the drivers had sole discretion over the drivers’ pay. Id. The court
20
     rejected that notion and held that such an argument improperly focused on the merits of the
21
     case, was reserved for stage two, and was not properly considered in the context of a stage‐
22
     one motion for notice. Id. Moreover, Despite Amazon’s contentions to the contrary, Sullivan‐
23
     Blake is “on all fours” with this case. In Sullivan‐Blake, FedEx required their drivers to be paid
24
     through an ISP while FedEx maintained control of virtually every aspect of drivers’
25
     employment while avoiding FLSA liability for overtime compensation. Id. Notably, the court
26
     there permitted nationwide notice to issue based on affidavits from FedEx drivers in three
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 1   states. Id. at *5; see also Roy v. FedEx Ground Package Sys., Inc., 353 F. Supp. 3d 43, 74 (D.
 2   Mass. 2018) (certifying a collective action where “the significant commonality alleged by
 3   [p]laintiffs [was] FedEx Ground's policy of contracting with ISPs to provide delivery services
 4   while maintaining control of the delivery process such that the delivery drivers are, in effect,
 5   employed by FedEx Ground.”).1 2 3
 6            3.       Courts Routinely Permit Nationwide Notice to Issue When Plaintiff’s Preferred
                       Evidence May Be Geographically Limited.
 7
              District courts around the county routinely permit nationwide notice to issue where
 8
     plaintiff’s evidence is limited to a handful of defendant’s overall locations. See Sullivan‐Blake
 9
     2019 WL 4750141, at *5 (permitting nationwide notice where plaintiff presented declarations
10
     from plaintiffs in three states.); Dozier v. DBI Servs., LLC, 2020 WL 881698, at *4 (M.D. Fla. Feb.
11
     24, 2020) (permitting nationwide notice where plaintiff presented declarations from plaintiffs
12
     who worked for defendant in one location in one state); Kutzback v. LMS Intellibound, LLC, at
13
     *6 (W.D. Tenn. Dec. 16, 2014), report and recommendation adopted, 2015 WL 1393414 (W.D.
14
     Tenn. Mar. 25, 2015) (certifying a nationwide collective action based on declarations from
15
     employees at two locations, in two states); Pendlebury v. Starbucks Coffee Co., 2005 WL
16
     84500 (S.D. Fla. 2005) (store managers from two Starbucks’ locations in Broward County,
17

18
     1
       Campbell does not stand for the premise that the existence of a common unlawful policy is central to the
19   similarly situated analysis. Campbell, 903 F.3d at 1114. In Campbell, the reason why a department‐wide unlawful
     compensation policy was essential to the determination in that case was because it was the “sole justification
20   advanced for a department‐wide collective.” Id. at 1120. That is not the situation here.
     2
       The district court cases from within the Ninth Circuit that Amazon cites are distinguishable. For example, in
21   Castle, a pre‐Campbell case, the court found that plaintiffs had failed to identify a “common policy or practice”
     because they alleged they were denied overtime pay “under a variety of different circumstances.” Castle v. Wells
22   Fargo Fin., Inc., No. C 06‐4347SI, 2008 WL 495705, at *2 (N.D. Cal. Feb. 20, 2008) (focusing on dissimilarities of
     the plaintiffs—directly at odds with the current Ninth Circuit standard.). Similarly, Velasquez was a
23
     misclassification case where the court stated “in misclassification cases, it is often easier to show the plaintiffs
     were the victims of a single decision, policy, or plan.” Velasquez v. HSBC Fin. Corp., 266 F.R.D. 424, 428 (N.D. Cal.
24
     2010).
     3
       Amazon’s argument regarding individualized inquiries is misplaced. Individualized defenses “do not preclude
25
     collective treatment for the purpose of resolving the common issue that does exist, and that must be answered
26   in the first instance.” Campbell, 903 F.3d at 1116. Likewise, the possibility that some class members may be
     subject to arbitration does not forestall a plaintiff’s entitlement to conditional certification. Gordon v. TBC Retail
27   Grp., Inc., 134 F. Supp. 3d 1027, 1039 (D.S.C. 2015).

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 1   Florida established the right to send notice to all similarly situated store managers across the
 2   United States who may have been misclassified as “exempt”). Here, Plaintiff has presented
 3   evidence from six (6) DAs who have worked at seven (7) Amazon locations across four (4)
 4   states. This exceeds evidence that courts routinely hold is sufficient. At this stage, Plaintiff has
 5   met his burden for the Court to permit to notice to issue to similarly situated DAs nationwide.
 6   4


 7       B.   Amazon Made Its Bed and Now Must Lie in It.
 8            Amazon’s opposition largely relies on arguments pertaining to judicial economy and
 9   manageability, things that are irrelevant to the limited issue at this stage. For example,
10   Amazon complains that it lacks the ability to identify proposed class members.5 Amazon
11   should not be heard to complain of the inconvenience or burden of a lawsuit which resulted
12   from widespread wage theft of its own employees.
13            The FLSA is a remedial statute enacted to protect workers, and its collective action
14   mechanism was put in place as a means of furthering that remedial goal. Campbell, 903 F.3d
15   at 1113. It is the low‐wage DAs illegally denied proper overtime pay, nationwide, who need to
16   be protected, not Amazon. Amazon created this problem and cannot avoid responsibility
17   simply because answering for its actions might be inconvenient. Plaintiff has met his burden
18   to demonstrate that the proposed class is similarly situated. This is all that is required. Indeed,
19   the Ninth Circuit squarely rejected Amazon’s argument in this regard in Campbell and
20   reasoned, “if the party plaintiffs’ FLSA right to choose collective litigation has any force,
21   4
       The cases that Defendants cite in support of their position that nationwide notice should not issue are
     distinguishable. For example, in Martin, plaintiff only presented evidence from plaintiffs who worked for
22   defendant through two intermediaries. Martin v. Sprint/united Mgmt. Co., 2016 WL 30334, at *9 (S.D.N.Y. Jan. 4,
     2016). Tellingly, the court in Martin noted that “plaintiffs are not required to submit evidence expressly
23
     implicating every Sprint Partner nationwide.” Id. Moreover, conditional certification was denied in Belfor partially
     because the “plaintiffs provide[d] only conclusory allegations and submit[ted] no evidence demonstrating that
24
     Belfor controlled the work of the laborers such that it can be held to be the direct employer of the named
     plaintiffs or the potential opt‐in plaintiffs.” Xavier v. Belfor USA Grp., Inc., 585 F. Supp. 2d 873, 879 (E.D. La.
25
     2008).
     5
26     Otey v. CrowdFlower, Inc., No. 12‐CV‐05524‐JST, 2013 WL 4552493, at *6 (N.D. Cal. Aug. 27, 2013) (requiring
     defendants to produce the names and contact information of all putative class members to plaintiff’s counsel
27   despite of defendants’ argument that they were not in possession of that information.).

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 1   ‘procedural considerations’ must mean more than the inconvenience, from the court’s or
 2   defendant’s viewpoint, of the party plaintiffs’ choice. Where Plaintiffs are otherwise similarly
 3   situated, certification must be permitted unless the collective action mechanism is truly
 4   infeasible.” Id. at 1116.
 5            1.       A Single Nationwide Collective Action Is Judicially Efficient.
 6            Citing other related lawsuits, Amazon contends that a single, nationwide collective
 7   action would be inefficient. But the fact that there are other day‐rate cases pending only
 8   demonstrates the widespread nature of the FLSA violations at issue here. And a nationwide
 9   collective would likely prevent dozens of additional lawsuits and allow Amazon’s liability to be
10   adjudicated in a single forum, its home forum. Thus, a nationwide collective action in this case
11   would promote judicial efficiency. Kutzback, 2014 WL 7187006, at *6 (certifying nationwide
12   collective action, in part, based on evidence of other lawsuits against defendants for similar
13   FLSA violations, and declarations from employees in two states); Reese v. Kimberly Credit
14   Counseling, Inc., 06‐80505‐CIV‐PAINE/JOHNSON, DE 71 (S.D. Fla. Dec. 24, 2006) (relying in part
15   on evidence of prior lawsuit against the same defendant for the same overtime violations and
16   granting conditional certification), attached as Appendix A.
17            Moreover, the fact that there are other identical or virtually identical cases pending
18   elsewhere does not preclude conditional certification.6 Of course, Amazon would prefer
19   small, localized lawsuits to surface from time to time as opposed to one large collective action
20   that would expose it to larger liability. But it is the DAs who need to be protected and their
21   rights vindicated, not Amazon.78              While this case may be complicated (as are many
22   6
       See Fairley v. Knights' Marine & Indus. Servs., Inc., 2015 WL 3450797, at *3 (S.D. Miss. May 29, 2015) (declining
     to withhold certification based on the earlier filed case because: 1) multiple lawsuits are permissible under the
23
     FLSA; 2) the court is not required to take any action simply because there are two lawsuits asserting the same
     FLSA rights; and 3) the statute of limitations for potential opt‐ins was running).
24   7
       See Bradford v. Bed Bath and Beyond, F. Supp. 2d 1342, 1351 (N.D. Ga. 2002) (plaintiffs can “hardly be expected
     to pursue these small claims individually, so there is little likelihood that their rights will be vindicated in the
25
     absence of a collective action.”); Falcon v. Starbucks Corp., 580 F. Supp. 2d 528, 541 (S.D. Tex. 2008) (“Although
26   the remedial nature of the FLSA, standing alone, does not justify allowing a case to proceed collectively, it does
     at least suggest that a close call as to whether Plaintiffs are similarly situated should be resolved in favor of
27   certification.”).

     PLAINTIFF’S REPLY IN SUPPORT OF PLAINTIFF’S PREDISCOVERY MOTION
     FOR ISSUANCE OF NOTICE TO SIMILARLY SITUATED INDIVIDUALS                        TERRELL MARSHALL LAW GROUP PLLC
                                                                                          936 North 34th Street, Suite 300
     UNDER 29 U.S.C. § 216(B) ‐ 7                                                        Seattle, Washington 98103‐8869
                                                                                       TEL. 206.816.6603  FAX 206.319.5450
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 1   collective/class action cases), once a Plaintiff has met his burden to demonstrate that the
 2   proposed class is plausibly similarly situated, the collective action mechanism cannot be
 3   denied to him based on Amazon’s perceived inconvenience.
 4            2.       Amazon’s Alleged Inability to Identify Proposed Class Members is Both
                       Disingenuous and Irrelevant.
 5
              Amazon also contends that it lacks the information necessary to identify the collective
 6
     action members. See D.E. 50 at 9‐11. Amazon’s argument in this regard is both contrary to
 7
     law9 and disingenuous. This is not an issue of first impression. In Otey v. CrowdFlower, Inc., for
 8
     example, the defendants argued against notice, contending that that the information
 9
     necessary to facilitate notice was in the hands of the 226 third‐party companies the
10
     defendants did business with, not defendants themselves. 2013 WL 4552493, at *5 (N.D. Cal.
11
     Aug. 27, 2013). The Otey court rejected this argument and ordered defendants to produce the
12
     contact information because courts routinely require defendants to produce contact
13
     information concerning the proposed class, and defendants had a right and obligation to
14
     obtain the contact information from the third‐party companies. See id.10 As in Otey, Amazon
15
     represents that it is not in possession of the information necessary to identify the proposed
16
     class members. Based on Amazon’s own representations, however, it is clear the company can
17
     obtain the necessary information.
18
              For instance, Dina Baker avers in her declaration that Amazon periodically audits DSP
19
     compliance with contractual terms, including aspects of payments to their delivery associates.
20
     See Decl. of Dina Baker, D.E. 51‐4, ¶4.11 In other words, even if Amazon currently does not
21
     8
       Plaintiff concedes that if there are similarly situated individuals who have already settled claims against Amazon
22   for the same violations that are complained of herein, those individuals should not be included as a putative class
     member.
23   9
       Amazon fails to cite a single case in support of this argument. See Defendants’ Opposition, generally.
     10
        See also Otey v. CrowdFlower, Inc., Plaintiffs’ Reply in Support of Motion for Conditional Certification, D.E. 143‐
24
     2, No. 12‐CV‐05524‐JST, attached hereto as Appendix B.
     11
        Amazon maintains named Plaintiff Brady Edmonds was employed through a company called JSTC, LLC, a third
25
     party with which Amazon contends it has no contractual relationship. But while Mr. Edmonds was employed by
26   Amazon, he received his pay through a DSP called COEI, LLC. Regardless of whether Mr. Edmonds was contracted
     through JSTI or COEI, Amazon does not deny that Mr. Edmonds logged into a Rabbit, DORA, or Amazon Flex
27   application and was authorized and allowed to deliver Amazon packages, work for which Amazon benefitted

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 1   have the information necessary to effectuate notice in its possession, the company is able to
 2   obtain same by virtue of its contractual rights visa vis its DSPs. Additionally, as thoroughly
 3   explained in Plaintiff’s motion, Amazon possesses a wealth of information regarding its DAs.
 4   Specifically, Amazon conducts background checks on its drivers, sends individualized driver
 5   performance data to its DSPs on a weekly basis, and requires drivers to log in to a Rabbit or
 6   Amazon Flex using their personal credentials so that Amazon track their progress and
 7   communicate with the drivers in real‐time while out in the field. See D.E. 40 at 5‐13.
 8           Moreover, Amazon’s contentions regarding its inability to identify every proposed opt‐
 9   in class member further bolsters the necessity of posting notice in Amazon’s warehouses
10   where DAs work nationwide. The Court has authority and discretion to monitor the
11   preparation and distribution of the notice to “ensure that it is timely, accurate, and
12   informative.” Cuevas v. ConAm Mgmt. Corp., 2019 WL 5320544, at *6 (S.D. Cal. Oct. 21, 2019).
13   Posting notice would maximize “potential plaintiffs' opportunities to be informed of the
14   pendency of the litigation and consider whether to opt in.”12
15           Finally, Amazon represents that it would need to conduct full‐blown discovery of all
16   DSPs to determine, inter alia, which DAs were paid a day rate, at what period of time, and
17   whether overtime was paid. But the only information necessary for the purposes of issuing
18   notice is whether Delivery Associates were paid on a day‐rate basis throughout the relevant
19   time period. Otherwise, Amazon’s arguments intimate that the class definition is a failsafe
20   class, wherein liability must be established before members of the class can be defined. This is
21   not what Plaintiff is seeking and is not required by the class definition in this matter. Plaintiff
22   proposes that notice should be sent to all DAs who were paid a day rate. Plaintiff would agree
23   to include a notation on the notice informing proposed class members that even if the opt‐in
24
     greatly. If Amazon did not have access to information regarding its DAs, then it would not have been able to
25
     determine the entity that “employed” Plaintiff..
     12
26      Bittencourt v. Ferrara Bakery & Cafe Inc., 310 F.R.D. 106, 118 (S.D.N.Y. 2015); see also Putman v. Galaxy 1
     Mktg., Inc., 276 F.R.D. 264, 277 (S.D. Iowa 2011); Simmons v. Enterprise Holdings, Inc., 2011 WL 855669, at *3
27   (E.D. Mo. Mar. 9, 2011) (requiring posting of notice in employee break rooms during notice period).

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 1   form is signed, they may not be entitled to recovery and may be dismissed if it becomes
 2   apparent that they do not fit within the class definition at some point during the litigation. In
 3   fact, district courts often permit notice to issue to all proposed class members and recognize
 4   that those who are not similarly situated can be excluded from the action at the second
 5   stage.13
 6            3.       The Middle District of Florida’s Decision in the Gibbs Case Is Non‐Binding and
                       Does Not Preclude Nationwide Certification Here.
 7
              Amazon dedicates an entire section of its opposition to a discussion of the Gibbs case,
 8
     a case decided in the Middle District of Florida, which applied Eleventh Circuit law. Gibbs v.
 9
     MLK Express Servs., LLC, 2019 WL 1980123, at *1 (M.D. Fla. Mar. 28, 2019), report and
10
     recommendation adopted in part, rejected in part, 2019 WL 2635746 (M.D. Fla. June 27,
11
     2019). In making the determination into whether a proposed class is similarly situated to a
12
     named plaintiff for collective action purposes, the Eleventh Circuit follows the majority, or “ad
13
     hoc,” approach. See id. at *4. The “ad hoc” approach was explicitly rejected by the Ninth
14
     Circuit in Campbell v. City of Los Angeles. 903 F.3d at 1117 (“We reject the majority
15
     approach—at least as it is typically articulated—because it inadequately accounts for the
16
     meaning of “similarly situated” in the FLSA context and improperly sanctions the
17
     decertification of collective actions the district court finds procedurally challenging.”).
18
     Because, the Gibbs decision was based on an analysis materially different than that applicable
19
     here, it has little persuasive value.
20
              In Campbell, the Ninth Circuit indicated that the majority approach into whether a
21
     proposed class is similarly situated improperly focuses on the differences between the party
22
     plaintiffs rather than their similarities resulting in denial of certification where the proposed
23

24   13
        See Mowdy v. Beneto Bulk Transp., 2008 WL 901546, at *11 (N.D. Cal. Mar. 31, 2008) (“Rather, the court will
     allow notice to be sent to drivers employed by defendants at any time during the past three years, and opt‐ins
25
     will be subject to exclusion at the stage of final certification.”); Kucker v. Petco Animal Supplies Stores, Inc., 2016
26   WL 237425, at *7 (S.D.N.Y. Jan. 19, 2016) (“Upon an initial showing that the putative class is similarly situated,
     notice is issued. At the second stage, the claims of dissimilar opt‐in plaintiffs can be dismissed without
27   prejudice.”).

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 1   class had other legal or factual similarities that were material to their FLSA claims. Campbell,
 2   903 F.3d at 1114. In denying plaintiff’s motion in Gibbs, the court stated: “[w]hile Plaintiffs
 3   have established that DAs share similar duties and that many are paid a day rate, this case is
 4   complicated by the fact that Amazon contracts with individual DSPs nationwide who in turn
 5   hire DAs.”    See Gibbs v. MLK Express Servs., LLC, No. 218CV434FTM38MRM, 2019 WL
 6   1980123, at *1 (M.D. Fla. Mar. 28, 2019). In doing so, the court in Gibbs focused on the
 7   dissimilarities of the Amazon drivers irrespective of the material similarities between them
 8   and the procedural challenges—the exact scenarios the Ninth Circuit indicated should not
 9   defeat collective treatment when presented with a common issue. See generally, Gibbs, 2019
10   WL 1980123; Campbell, 903 F.3d at 1114 (holding “[i]f the party plaintiffs’ factual or legal
11   similarities are material to the resolution of their case, dissimilarities in other respects should
12   not defeat collective treatment,” and rejecting Eleventh Circuit’s approach because “it
13   inadequately accounts for the meaning of ‘similarly situated’ in the FLSA context and
14   improperly sanctions the decertification of collective actions the district court finds
15   procedurally challenging”).
16          The standard applicable to the inquiry in this matter is the Ninth Circuit’s standard as
17   in Campbell. 903 F.3d at 1114. The Middle District of Florida’s decision in Gibbs embodies
18   most, if not all, of the pitfalls that the Ninth Circuit sought to avoid when it defined the
19   standard within this circuit. Applying the proper Ninth Circuit’s standard, it is clear Plaintiff has
20   met his burden and notice is due to issue.
21                                           III. CONCLUSION
22          Based on the foregoing, Plaintiff has presented evidence that the proposed class he
23   seeks to represent is similarly situated. At this stage, that is all that is required. Should the
24   Court decide that notice to the proposed class is appropriate, Plaintiff respectfully requests
25   that the parties be permitted to confer with regard to the form and dissemination of notice.
26

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 1          RESPECTFULLY SUBMITTED AND DATED this 25th day of May, 2020.
 2
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 3

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 1                                       CERTIFICATE OF SERVICE
 2          I, Toby J. Marshall, hereby certify that on May 25, 2020, I electronically filed the
 3   foregoing with the Clerk of the Court using the CM/ECF system which will send notification of
 4   such filing to the following:
 5
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 1          DATED this 25th day of May, 2020.
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     PLAINTIFF’S REPLY IN SUPPORT OF PLAINTIFF’S PREDISCOVERY MOTION
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         — APPENDIX A —
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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                             06-80505-CIV-PAINE/JOHNSON

  BARRY ADRIAN REESE, on his own behalf
  and others similarly situated,

               Plaintiff,
  v.

  KIMBERLY CREDIT COUNSELING, INC.,
  a Florida corporation, and TIMOTHY QUINN,
  individually,

               Defendants.
                                                 /

                                   OMNIBUS ORDER

        THIS CAUSE is before the Court on the following motions: (1) Defendants’

  Motion to Strike Plaintiff’s Notification of 90-Day Expiring and for Ripeness for Ruling

  (D.E. # 67); (2) Defendants’ Motion to Strike Plaintiff’s Claim for a Collective Action

  And/Or Stay of Collective Action Proceedings Based Upon Newly Discovered

  Evidence (D.E. #35); and (3) Plaintiffs’ Motion for Order Permitting Court Supervised

  Notice to Employees of their Opt-In Rights (D.E. # 10). Having reviewed the pleadings

  filled incident to this matter and being otherwise duly advised in the premises, it is

  hereby

        ORDERED AND ADJUDGED as follows:

        (1) Defendants’ Motion to Strike Plaintiff’s Notification of 90-Day Expiring and



                                             1
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  for Ripeness for Ruling (D.E. # 67) is DENIED AS MOOT, by virtue of this Court’s Order

  granting Plaintiffs’ Motion for Order Permitting Court Supervised Notice to Employees of

  their Opt-In Rights (D.E. # 68);

         (2) Plaintiffs’ Motion for Order Permitting Court Supervised Notice to Employees

  of their Opt-In Rights (D.E. # 10) is GRANTED, in accordance with the undersigned’s

  Order of November 21, 2006, on D.E. # 22, permitting such court supervised notice;

  and

         (3)   Defendants’ Motion to Strike Plaintiff’s Claim for a Collective Action

  And/Or Stay of Collective Action Proceedings Based Upon Newly Discovered

  Evidence (D.E. #35) is DENIED. The Court views the motion as an impermissible

  surreply to Plaintiff’s Motion for an Order permitting Court Supervised Notice to

  Employees of their Opt-In Rights.

                DONE AND ORDERED this 4th day of December, 2006, in Chambers, at

  Fort Pierce, Florida.




                                          LINNEA R. JOHNSON
                                          UNITED STATES MAGISTRATE JUDGE




  CC:    Hon. James L. Paine
         All Counsel of Record




                                             2
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                                                “EXHIBIT A”
                                 NOTIFICATION TO POTENTIAL CLASS MEMBERS

              TO:            All persons who have been employed as credit counselors/credit advisors by
                             KIMBERLY CREDIT COUNSELING, INC. between May 2003 and the present

              RE:            Right to Opt-In to Lawsuit to Recover Unpaid Overtime Wages

              DATE:          July ____, 2006

              I.       INTRODUCTION

                     This letter contains important information concerning your rights under the Fair Labor
              Standards Act as a result of your current or former employment with KIMBERLY CREDIT
              COUNSELING, INC. as a credit counselor/credit advisor.

              II.      DESCRIPTION OF THE LAWSUIT

                       A lawsuit has been filed in the United States District Court for the Southern District of
              Florida by BARRY ADRAIN REESE, the Plaintiff, on his own behalf and others similarly situated,
              versus KIMBERLY CREDIT COUNSELING, INC. The case number of that Case is No.: 06-
              80505-CIV-PAINE/JOHNSON. The Plaintiff alleges that during his employment, he was not paid
              for his overtime hours worked because his employer, KIMBERLY CREDIT COUNSELING, INC.,
              did not compensate him at the rate of time and one-half his regular rate of pay for all of his hours
              worked in excess of Forty (40) per week including weekend work, or time worked both before
              and/or after his or her scheduled hours. To date, MR. REESE, and two (2) other former employees
              are suing KIMBERLY CREDIT COUNSELING, INC. to recover compensation for the hours
              worked by them in excess of Forty (40) hours per work week.

              III.     YOUR RIGHT TO JOINT THIS LAWSUIT

                     If you are currently or have been employed by KIMBERLY CREDIT COUNSELING, INC.
              since May 2003 as a credit counselor/credit advisor and you believe you were not paid time and one-
              half wages for all hours which you worked in excess of Forty (40) hours worked during any work
              week, you may make a claim to recover your unpaid overtime wages, liquidated (or double)
              damages, and the costs and attorneys’ fees of this suit.

                       IF YOU WISH TO MAKE A CLAIM for not being paid time and one-half for all hours you
              worked in excess of Forty (40) during any work week between May 2003 and the present, you must
              sign the form which is entitled “Notice of Consent to Join,” which is attached to this notice, and mail
              it to the United States District Court for the Southern District of Florida, attention Clerk of the
              Court, 701 Clematis Street, West Palm Beach, FL 33401, or you may contact Maguene Dieudonne,
              Esq. and/or Gregg I. Shavitz, Esq., counsel for Plaintiff, at (561) 447-8888 or
              mdieudonne@shavitzlaw.com, for assistance in doing so. The Notice of Consent to Join must be
              received by the Clerk not later than ________, 2006. A self-addressed, stamped envelope has been
              provided for your return of this form.



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              IV.     LEGAL REPRESENTATION IF YOU JOIN THE SUIT

                     MR. REESE and the other Opt-In Plaintiffs who initiated this lawsuit are represented by The
              Shavitz Law Group, P.A., Gregg I. Shavitz, Esq. and Maguene Dieudonne, Esq., 7800 Congress
              Avenue, Suite 108, Boca Raton, Florida 33487, Telephone Number (561) 447-8888, E-mail address:
              mdieudonne@shavitzlaw.com. You may contact Mr. Shavitz or Ms. Dieudonne for more
              information or assistance if you wish to do so.

              V.      THE LEGAL EFFECT OF JOINING THIS SUIT

                     If you choose to join this suit, you will be bound by the judgment, whether it is favorable or
              unfavorable, or any settlement of this action. While the suit is proceeding, you may be required to
              provide information, appear for a deposition, and/or testify in Court. This notice and its contents
              have been authorized by the Federal District Court, the Hon. Judge James C. Paine. The Court has
              taken no position regarding the merits of the Plaintiffs’ claims or of the Defendant’s defenses.

              VI.     THE LEGAL EFFECT OF NOT JOINING THE SUIT

                      If you do not sign the “Notice of Consent to Join” form and file it with the Clerk of the
              Court, you will not be allowed to recover any overtime wages from this case if any of the Plaintiffs
              prevail in this action. This Notice is only for the purpose of determining the identity of those
              persons who wish to be involved in this case and has no other purpose. There is no assurance at this
              time that the Court will grant any relief or, if granted, the nature or amount of the relief.

              VII.    NO RETALIATION OR DISCRIMINATION PERMITTED

                      Federal law prohibits KIMBERLY CREDIT COUNSELING, INC. and anyone acting on the
              Company’s behalf from discriminating or retaliating against you for taking part in this case. If you
              believe that you have been penalized, discriminated against or in any way disciplined or punished,
              or if you have been threatened or intimidated in any way as a result of your receiving this
              notification, your considering whether to complete and submit the Notice of Consent or your having
              submitted the “Notice of Consent to Join,” you should contact either the Shavitz Law Group or the
              Clerk of the Court immediately.


                                                            Maguene Dieudonne, Esq.
                                                            Gregg I. Shavitz, Esq.
                                                            SHAVITZ LAW GROUP, P.A.
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                                                            Boca Raton, Florida 33487
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                                                     Exhibit “B”
                                          UNITED STATES DISTRICT COURT
                                          SOUTHERN DISTRICT OF FLORIDA
                                        CASE NO.:06-80505-CIV-PAINE/JOHNSON

              BARRY ADRAIN REESE, on his own
              behalf and others similarly situated,

                      Plaintiff,

              v.

              KIMBERLY CREDIT COUNSELING, INC.,
              a Florida corporation, and
              TIMOTHY QUINN, individually,

                    Defendants.
              __________________________/

                           NOTICE OF CONSENT TO JOIN PURSUANT TO 29 U.S.C. §216(b)

                      1.      I hereby consent, agree, and to become a Plaintiff in the lawsuit brought under the
                              Fair Labor Standards Act, 29 U.S.C. §201, et seq., to recover unpaid overtime
                              compensation from my current/former employer, KIMBERLY CREDIT
                              COUNSELING, INC.

                      2.      I hereby agree to be bound by any adjudication of this action by the Court, whether
                              it is favorable or unfavorable. I further agree to be bound by any settlement herein
                              approved by my attorneys and approved by the Court as fair, adequate, and
                              reasonable.

                      3.      I hereby designate the Shavitz Law Group, P.A. to represent me in this action.

              ________        _____________________________                ____________________________
              DATE            PRINT NAME                                   SIGNATURE

              _____________________________________________________________________________
              STREET ADDRESS           CITY, STATE            ZIP CODE

              ___________________           _____________________          _____________________________
              DAYTIME TEL. NO.              EVENING TEL. NO..              E-MAIL ADDRESS

              TO BE EFFECTIVE, THIS NOTICE OF CONSENT MUST BE FILED WITH THE CLERK OF THE UNITED
              STATES DISTRICT COURT FOR THE SOUTHERN DISTRICT OF FLORIDA, 701 CLEMATIS STREET, WEST
              PALM BEACH, FL 33401 FOR YOUR CONVENIENCE, AN ENVELOPE PROPERLY ADDRESSED TO SUCH
              COURT HAS BEEN PROVIDED TO YOU.




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         — APPENDIX B —
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13   Attorneys for Plaintiff
     CHRISTOPHER OTEY
14
                                UNITED STATES DISTRICT COURT
15                             NORTHERN DISTRICT OF CALIFORNIA
                                   SAN FRANCISCO DIVISION
16
     CHRISTOPHER OTEY, on behalf of himself    ) Case No. C 12-5524 JST
17   and all others similarly situated,        )
                                               ) Judge: Hon. Jon. S. Tigar
18               Plaintiff,                    )
                                               ) PLAINTIFFS’ REPLY IN SUPPORT
19                                             ) OF MOTION FOR CONDITIONAL
           v.                                  ) COLLECTIVE ACTION CERTIFI-
20                                             ) CATION AND DISSEMINTION OF
     CROWDFLOWER, INC., LUKAS BIEWALD,         ) NOTICE PURSUANT TO 29 U.S.C.
21   and CHRIS VAN PELT,                       ) 216(b)
                                               )
22               Defendants.                   )      DATE: August 2, 2013
                                               )      TIME: 2:00 p.m.
23                                             )      COURTROOM: 9
     __________________________________________)
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                                                   1
        PLAINTIFFS’ REPLY IN SUPPORT OF MOTION FOR CONDITIONAL COLLECTIVE ACTION CERTIFIATION AND
                              DISSEMINATION OF NOTIE PURSUANT TO 29 U.S.C. 216(b)
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                                                     v
       PLAINTIFFS’ REPLY IN SUPPORT OF MOTION FOR CONDITIONAL COLLECTIVE ACTION CERTIFIATION AND
                             DISSEMINATION OF NOTIE PURSUANT TO 29 U.S.C. 216(b)
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 1                                         I.      INTRODUCTION
 2          Defendants seek to over-complicate a simple issue: have Plaintiffs presented the Court with

 3   substantial evidence that the putative class members were together the victims of a plan, policy or

 4   practice of failing to pay less than the federal minimum wage? The answer most definitely is “yes,”

 5   and Plaintiffs’ Motion for Conditional Certification should be granted.

 6          Rather than addressing the established “lenient” conditional certification standard,

 7   Defendants devote the majority of their response to inviting the Court to disavow its own precedents
     by prematurely weighing the merits, resolving competing evidence, and deciding credibility. To be
 8
     sure, Plaintiffs eagerly anticipate full consideration of the merits when the time comes. But now is
 9
     not that time, and unanimous authority from this District instructs that it is improper for the trial
10
     court to impose that burden on Plaintiffs at the early conditional certification stage – before they
11
     have had the opportunity to conduct full discovery.
12
            In their attempt to create a premature battle of the merits, Defendants actually identify many
13
     aspects of the similar treatment between workers who perform work through all of their contributor
14
     channel partners (“CCPs”). That evidence further supports conditional certification. This Court
15
     very recently recognized that “the question at this stage is not whose evidence regarding
16
     commonality is more believable, but simply whether plaintiffs have made an adequate threshold
17
     showing.” Flores v. Velocity Express, Inc., 2013 U.S. Dist. LEXIS 77821, *21 (N.D. Cal. Jun. 3,
18
     2013) (citing cases). This Court should grant company-wide conditional certification because
19   Plaintiff has presented substantial evidence establishing that potential class members were victims of
20   Defendants’ company-wide decisions, policies, and plans that violated federal minimum wage
21   requirements.” This Court should grant company-wide conditional certification for the same
22   reasons.
23                  II.    RESPONSE TO DEFENDANTS’ STATEMENT OF FACTS
24          Defendants primarily devote their long recitation of facts to an attempt to engage in a
25   premature “battle of the merits” regarding the issue of whether the workers are employees or

26   independent contractors. The law is clear, however, that a court may not weigh the merits at this

27   early conditional certification stage. Luque v. AT&T Corp., 2010 U.S. Dist. LEXIS 126545, *18

28   (N.D. Cal. Nov. 19, 2010) (the merits are not considered at this stage); see also, e.g., Stanfield v.
                                                      1
        PLAINTIFFS’ REPLY IN SUPPORT OF MOTION FOR CONDITIONAL COLLECTIVE ACTION CERTIFIATION AND
                              DISSEMINATION OF NOTIE PURSUANT TO 29 U.S.C. 216(b)
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 1   First NLC Fin. Servs., LLC, 2006 U.S. Dist. LEXIS 98267, *11 (N.D. Cal. Nov. 1, 2006) (holding

 2   that a “fact-intensive inquiry is not required.”).

 3          While disputing conditional certification, Defendants offer numerous assertions of fact which

 4   actually support conditional certification. Specifically, while Plaintiffs disagree with many of those

 5   assertions, Defendants assertions show that they treat workers the same in all of the following

 6   material respects:
            1.      “To complete a task and to be compensated in some way by their chosen Channel,
 7
                    Contributors must first join a Channel community, find and select a task that they
 8                  wish to complete and then render ‘judgments’ in response to a series of questions
                    (tasks) which are presented in units of multiple tasks” (Doc. 131, at 2)
 9                  (parentheses in original);
            2.      “Contributors must complete a unit before they are entitled to any compensation”
10                  (Id.);
11          3.      “Channels make the tasks available to people (“Contributors”) who voluntarily log
                    onto the Channel and then voluntarily identify, select and perform the tasks which are
12                  offered, on a non-exclusive basis, through the Platform” (Id., at 2-3) (parentheses in
                    original);
13          4.      The workers “pick and choose the tasks they wish to complete and are under
                    absolutely no obligation to even to finish a task they have started” (Id., at 5);
14          5.      The workers “are under no obligation to choose a CrowdFlower task versus those
15                  offered by other task requesters on any of the Channels” (Id.);
            6.      “CrowdFlower exercises no control over the time, place, pace, quantity and/or
16                  manner of performance by contributors” (Id.);
            7.      “CrowdFlower provides no training per se for the tasks performed other than a few
17                  sample questions to qualify the person for the task” (Id., at 6);
            8.      “Supervision of tasks performance by CrowdFlower is virtually non-existent” (Id.);
18          9.      CrowdFlower’s “quality control technology is effectively used only to determine
19                  whether a Contributor is gaming the system and to measure how much trust
                    CrowdFlower can place in the judgment made by any particular Contributor within a
20                  particular task” (Id.);
            10.     “[E]ven a Contributor who fails so many Gold Standard questions that CrowdFlower
21                  determines not to utilize their responses to other questions within the task is generally
                    not blocked from the Platform but only from providing additional responses on the
22
                    related task on the particular Channel” (Id.);
23          11.     Workers “could be blocked from a particular task on one Channel but continue to
                    perform the task on another Channel” (Id.);
24          12.     “CrowdFlower cannot reliably determine time spent performing a task” (Id., at 7);
            13.     “CrowdFlower has no way of tracking the amount of time actually spent by a
25                  Contributor performing any given task” (Id.);
            14.     “Contributors may leave the tasks open for hours or even days before they make any
26
                    judgment or complete a unit” (Id.);
27          15.     “Contributors may also open and accept a task and subsequently choose not to
                    complete it” (Id.);
28
                                                      2
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 1          16.     “CrowdFlower has no record of the actual or even approximate time spent by any
                    Contributor in performing a task” (Id.);
 2          17.     “CrowdFlower has no involvement whatsoever in determining the type of virtual
                    currency utilized or the valuation of that virtual currency” (Id., at 8);
 3
            18.     CrowdFlower “price[s its] tasks uniformly across all channels, so that we don’t favor
 4                  any [channel] against any other” (Id., at 9);
            19.     “Contributors can and do register on multiple Channels to view and perform
 5                  CrowdFlower tasks. By doing so, they are able to effectively shop their services to
                    the highest bidder and/or choose the form of compensation which they choose to
 6                  accept” (Id.);
            20.     “CrowdFlower provides no incentives to Contributors, financial or otherwise, to
 7
                    select a particular Channel. Contributors make this choice completely on their own”
 8                  (Id., at 9-10);
            21.     “During the relevant time period, CrowdFlower has obtained almost a billion
 9                  judgments involving myriad task types … from approximately 4,000,000
                    Contributors through its various Channels. (Van Pelt Decl. II, ¶ 14). In each case,
10                  the Contributor alone selected the task to be performed as well as the Channel” (Id.,
11                  at 10);
            22.     “Contributors are essentially compensated on something akin to a piece rate basis”
12                  (Id., at 19);
            23.     The workers “choose the tasks which they want to perform based upon factors which
13                  are peculiar to themselves, including the third party websites through which they
                    access the task” (Id., at 27); and
14          24.     The workers “are solely responsible for choosing which or how many tasks and task
15                  requesters for whom they will perform tasks” (Id.).

16   The only differences between workers which CrowdFlower actually identifies in its statement of

17   facts are (1) whether workers perform other tasks while performing CrowdFlower’s tasks, (2)

18   whether workers have multiple windows open at the same time, and (3) the amount and method of

19   payment. Id., at 7-8 & 18-23. Such few purported differences are immaterial.

20          Defendants attempt to argue within their statement of facts that Mr. Otey’s knowledge is
     confined to AMT. However, they ignore the fact that Mr. Otey testified that he has viewed many of
21
     the same video-recorded admissions regarding Defendants’ operations and methods that Plaintiffs
22
     have supplied to the Court. See, e.g., Ex. 31, 73:11-24. What Defendants seek to diminish as Mr.
23
     Otey’s “beliefs” (Doc. 131, at 28), are actually his knowledge gained from Defendants’ multiple
24
     public representations of fact.
25
            Defendants first produce evidence regarding other workers and CCPs with their opposition to
26
     conditional certification. Defendants previously refused to produce that evidence in discovery. Ex.
27
     32, ¶¶ 4-13. Defendants should not be permitted to cherry-pick evidence while refusing discovery
28
                                                      3
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 1   into the same topics. Id. Thus, Defendants’ newly-disclosed evidence should be excluded.

 2                         III.    PROCEDURAL AND DISCOVERY HISTORY

 3          Defendants objected to producing discovery responses regarding any CCP other than

 4   Amazon Mechanical Turk (“AMT”). The parties filed a joint discovery letter. Doc. 105. In support

 5   of company-wide discovery, Plaintiffs submitted essentially the same, but slightly less, evidence of

 6   the same company-wide policies and practices which Plaintiffs submitted in support of conditional
     certification. Compare Doc. 105 (seeking company-wide discovery) with Doc. 46 (conditional
 7
     certification motion) & Doc. 129 (supplement conditional certification brief). Judge James
 8
     recognized the standard for the scope of discovery: “an FLSA plaintiff is entitled to discovery from
 9
     locations where he never worked if he can provide some evidence to indicate company-wide
10
     violations.” Doc. 123 (citing Nguyen v. Baxter, 275 F.R.D. 503, 508 (C.D. Cal. 2011)). That
11
     standard is essentially the same as the conditional certification standard. Compare Harris v. Vector
12
     Marketing Corp., 753 F.Supp.2d 996, 1003 (N.D. Cal. Nov. 5, 2010) (internal quotes omitted)
13
     (“conditional certification requires only that plaintiffs make substantial allegations that the putative
14
     class members were subject to a single illegal policy plan or decision.”). Applying essentially the
15
     same standard to essentially the same evidence produced by Plaintiffs in support of conditional
16
     certification, Judge James ordered Defendants to produce company-wide disclosures, encompassing
17
     all Defendants’ CCPs, because…
18          Here, Plaintiff has presented evidence which suggests that all CrowdFlower’s
19          workers perform “simple repetitive tasks;” CrowdFlower has no requirements for its
            workers other than the ability to follow its instructions; all workers are bound by the
20          same written agreement which uniformly classifies them as independent contractors
            and specifies application of California law; CrowdFlower provides its workers
21          detailed “step-by-step” instructions on how to perform the work and requires each of
            them to complete training on each assignment before performing paid work;
22
            Crowdflower’s computer programs and interfaces guide the workers through each
23          step of each task so that the work must be performed in accordance with
            CrowdFlower’s methods and instructions; CrowdFlower chooses the “appropriate
24          work flow” to “ensure accuracy and efficiency;” CrowdFlower controls the speed /
            pace at which the work is performed; CrowdFlower uses technology to monitor the
25          workers, catch errors in their work, train them, motivate them to improve quality,
            quality control their work, and manage the quality of the worker’s results;
26
            CrowdFlower tracks completion of their work; and it may warn, ban, “flag” or punish
27          workers who exceed its accuracy thresholds either from all jobs or specific jobs, and
            the workers perform CrowdFlower’s primary business of compiling and labeling
28          large data sets.
                                                      4
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 1   Doc. 123, at 2. Consistent with Judge James’ ruling, conditional certification should be granted.

 2          Judge James further held that “this case turns only on the alleged employment relationship

 3   between Plaintiff and CrowdFlower.” Id., at *5. Accordingly, Judge James denied Defendants’

 4   discovery requests seeking information about other employment of Plaintiffs “because they are not

 5   likely to lead to the discovery of relevant evidence.” Id. Defendants filed no timely objections to

 6   that Order. Nonetheless, Defendants then attempted to obtain the same discovery about other
     employment and other sources of income of Plaintiffs through third-party subpoenas, more written
 7
     discovery, deposition testimony and threats of sanctions. Docs. 112, 117 & 118. Again, the parties
 8
     filed joint discovery letters. Id. Judge James denied all those efforts, reasoning that “[f]or the
 9
     reasons stated in the Court’s April 11, 2013 Order, Plaintiff’s other employment or receipt of other
10
     income is irrelevant to the question of whether Plaintiff was Defendants’ employee or whether he
11
     was an independent contractor. See Order at 2:19-3:7, Dkt. No. 85.” Docs. 124-126. Still,
12
     Defendants now seek to assert substantive and credibility arguments regarding Plaintiff Otey’s other
13
     work and income sources. See, e.g., Doc. 131, at 11. The Court should disregard such arguments as
14
     they are both beyond the scope of review on conditional certification (explained below) and
15
     immaterial under Judge James’ prior holdings. Docs. 85, 124-126.
16
                 IV.     LEGAL STANDARD FOR CONDITIONAL CERTIFICATION
17
            At best, Defendants attempt to present a highly-distorted view of the standard for conditional
18   certification of FLSA claims. This Court recently re-affirmed the actual standard in Flores. “In
19   making that determination, ‘the court requires little more than substantial allegations, supported by
20   declarations or discovery, that the putative class members were together the victims of a single
21   decision, policy, or plan.’” Id., 2013 U.S. Dist. LEXIS at *14 (quoting Lewis v. Wells Fargo & Co.,
22   669 F.Supp.2d 1124, 1127 (N.D. Cal. 2009)). “Because the court generally has a limited amount of
23   evidence before it, the initial determination is usually made under a fairly lenient standard and
24   typically results in conditional class certification.” Id., at *14-15 (citing Luethold v. Destination

25   Am., Inc., 224 F.R.D. 462, 467 (N.D. Cal. 2004); Adams v. Inter-Con Sec. Sys., Inc., 242 F.R.D. 530,

26   536 (N.D. Cal. Apr. 11, 2007)) (recognizing “lenient” standard).

27          Defendants attempt to replace the established “lenient” conditional certification with the

28   more-stringent Rule 23 standard. Doc. 131, at 15-16. However, this Court recently rejected the
                                                      5
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 1   same effort in Flores, observing that “[i]n fact, courts have repeatedly rejected attempts like

 2   Velocity’s to equate FLSA class actions and Rule 23 class actions because ‘Congress chose not to

 3   apply the Rule 23 standards to collective actions under the ADEA and FLSA, and instead adopted

 4   the 'similarly situated' standard. To now interpret this 'similarly situated' standard by simply

 5   incorporating the requirements of Rule 23 would effectively ignore Congress' directive.” Id., at *17-

 6   20 (quoting Gerlach v. Wells Fargo & Co., 2006 U.S. Dist. LEXIS 24823, *7-8 (N.D. Cal. Mar. 28,
     2006) (quotation omitted) and citing cases)). Not only do Defendants expressly argue for a more-
 7
     stringent standard, but they improperly assume application of that more-stringent standard
 8
     throughout the remainder of their brief.1
 9
             Recently, this District re-affirmed that “courts in this Circuit overwhelmingly ‘refuse to
10
     depart from the notice stage analysis prior to the close of discovery.’” Ramirez v. Ghilotti Bros.,
11
     Inc., 2013 U.S. Dist. LEXIS 59497, *9 (N.D. Cal. Apr. 25, 2013) (quoting Kress v. PWC, 263
12
     F.R.D. 623, 629 (E.D. Cal. 2009)). To date, Defendants have largely evaded providing company
13
     wide class discovery, have failed to comply with discovery orders, delaying depositions of any
14
     defense witnesses. See, e.g., Ex. 32. The depositions have been delayed because Plaintiffs’ counsel
15
     need further written discovery to conduct thorough and effective depositions. See, e.g. Id., ¶ 14.
16
     Defendants long refused to produce any documents or other evidence related to other putative class
17
     members, about CrowdFlower’s contributor channels, or any of the defenses raised in their Answer.
18   Of the approximately 8,700 pages of documents produced to date in the case, more than 8,000 pages
19   were only very-recently served by regular mail on Plaintiffs’ counsel on June 27, 2013. Discovery
20   in this suit is far from complete, and therefore the early “notice stage” standard must apply.
21                                        V.       REPLY ARGUMENTS
22   A.      Defendants’ Arguments on the Merits Should be Rejected
23           Defendants argue that Plaintiffs have not fulfilled their burden of showing grounds for
24   conditional certification based on their erroneous reliance on a “more rigorous standard” which

25
     1
26     Since the inception of this suit, Defendants have consistently attempted to replace applicable Ninth Circuit
     law with differing Fifth and Eleventh Circuit law.
27
     3
       Plaintiffs believe that the hourly wage pay rates are readily determinable through technology, computer
28   forensics or other measures to be determined with or without expert assistance.
                                                        6
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 1   would entail weighing the evidence. (Doc. 131, at 16-17). At this stage, this Court need not weigh

 2   the evidence, determine merits, and decide credibility in order to conditionally certify the class.

 3          1.      Similarity of Job Requirements.

 4          Contrary to Defendants’ assertions here, Plaintiffs have provided admissions and evidence

 5   showing that the members of the putative class perform “simple repetitive tasks.” See, e.g., FAC, ¶

 6   8; FAA, ¶ 8 (admitting that CrowdFlower uses technology to distribute to a large work force “simple
     repetitive tasks” which can be better performed by human labor than computers); Suppl. (Doc. 129),
 7
     Ex. 1, 2:2-6 (admitting work is “simple” and “repetitive”); Suppl., Ex. 2, 2:14-22 (admitting that the
 8
     tasks “take a few minutes for basically any human being to do”); Suppl., Ex. 3 (admitting that the
 9
     work is “relatively easy for a person to complete in less than five minutes”); Suppl., Ex. 4 (admitting
10
     that the work is “best suited for binary projects driving workers to a simple yes or no answer that a
11
     computer or algorithm couldn’t otherwise come in.”); Suppl., Ex. 6 (admitting that the workers can
12
     “zone out” while performing the work”), etc... As Judge James expressly found, this evidence is
13
     sufficient to find that all workers similarly perform “simple repetitive tasks.” Doc. 123, at 2.
14
     Defendants’ efforts to weigh competing evidence must be rejected at this early stage.
15
            2.      Similarity of Manner of Performing the Job
16
            Defendants’ arguments about differences in interruptions on the job and numbers of
17
     computer windows open are immaterial. In Flores, this Court recently rejected the argument that
18   fact-intensive inquiries pertaining to the “employee / independent contractor” issue preclude
19   conditional certification. Flores, 2013 U.S. Dist. LEXIS at *20-21. “Similarly situated” with
20   respect to the policies alleged to violate the FLSA is not synonymous with “identical.” Deane v.
21   Fastenal Co., 2013 U.S. Dist. LEXIS 25631, *5 (N.D. Cal. Feb. 25, 2013) (“plaintiffs need not be
22   identically situated”). Obviously, no claim could be conditionally certified if mere differences in
23   interruptions while working could prevent conditional certification. Defendants fail to explain how
24   opening more than one computer window at a time affects the “employees / independent contractor”

25   issue. Basically, Defendants seek to over-rely on minor differences. By contrast, Judge James

26   already found evidence of far more similarities, and far more substantial similarities, in Defendants’

27   treatment of workers. Doc. 123, at 2. As this Court recently recognized, it will later consider “’the

28   disparate factual and employment settings of the individual plaintiffs’ if and when Defendant makes
                                                      7
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 1   a motion to decertify.” Flores, 2013 U.S. Dist. LEXIS at *21.

 2          Defendants attempt to rely on Espenscheid v. DirectSat USA, LLC, an inapposite out-of-

 3   circuit decision which examined decertification at the later second stage. 705 F.3d 770 (7th Cir. Feb.

 4   4, 2013). In addition to applying a vastly different standard, Espenscheid relied on differences in

 5   unrecorded amounts of work in finding that damages cannot be mechanically determined. As

 6   explained below, differences in damages are immaterial to conditional certification. Likewise,
     defendants attempt to rely on decisions under Fed. R. Civ. P. 23, which entail a very different and
 7
     more-stringent standard. Doc. 131, at 19-20. This Court recently recognized that even the FLSA’s
 8
     second stage standard “is different, and easier to satisfy, than the requirements for a class action
 9
     certified under Federal Rule of Civil Procedure 23(b)(3).” Flores, 2013 U.S. Dist. LEXIS at *15-16
10
     (emphasis added).
11
            3.      Similarity of Pay
12
            Defendants do not provide any facts showing any substantial dissimilarity of pay. Rather,
13
     they merely claim that they permit CCPs to determine pay rates. Notably, Defendants do not claim
14
     that any worker earns at least the federal minimum wage. Meanwhile, Plaintiffs have presented
15
     ample evidence of very similar pay rates to all workers. They have shown that Defendants maintain
16
     a written “$2.00 per hour benchmark” for pay (Exs. 25 & 26); Defendants have admitted that the
17
     workers are paid about $2.00 to $3.00 per hour (Ex. 6, 12:10-11, 13:20-25); Defendants have
18   admitted that the workers earn “on average around $1 to $2 an hour” (Ex. 9, 22:23-24);, Defendants
19   are only able to identify one example of paying workers “half minimum wage” (Id., 56:7-16); and
20   Defendants have internally rejected a suggestion to pay $7.00 per hour, explaining that “[i]ts really
21   not worthwhile to pay a BPO 7x what we pay our normal contributors” (Ex. 27). This evidence of
22   similar sub-minimum pay rates is far more than sufficient for conditional certification.
23          Defendants also try to rely on the purported difficulty of determining the value of “virtual
24   currency” and “virtual goods,” which as Defendants correctly state, entail highly-restricted use.

25   Doc. 131, at 3, 8. However, that valuation is actually extremely easy under the FLSA. “Virtual

26   compensation” has absolutely no value whatsoever ($0.00) because the FLSA “require[s] payments

27   of the prescribed wages … in cash or negotiable instrument payable at par.” 29 C.F.R. § 531.27(a).

28
                                                      8
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 1   Thus, just like the workers receiving cash compensation, the workers earning “virtual compensation”

 2   clearly earn less than the federal minimum wage.

 3           Plaintiffs have also shown that all the workers are paid on a piece-rate basis (Ex. 9, 37:24-

 4   25), which Defendants confirmed in their brief (Doc. 131, at 19 (admitting that “[c]ontributors are

 5   essentially compensated on something akin to a piece rate basis…”)).

 6           Again, Defendants rely on inapposite law examining the later second stage, such as
     Beauperthuy v. 24 Hour Fitness, 772 F.Supp.2d 1111, 1121-34 (N.D. Cal. 2011). Moreover, unlike
 7
     here, the plaintiffs in Beauperthuy were unable to point to a single plan, policy or practice
 8
     encouraging off-the-clock work. Id., at 1125. In contrast to Beaupherthuy, this is primarily a
 9
     misclassification case, not an off-the-clock case, and Plaintiffs have presented ample evidence of the
10
     same company-wide piece-rate pay system which uniformly provides sub-minimum wages.
11
             Moreover, differences in pay only pertain to damages, especially here as there is no evidence
12
     that any worker has actually bee paid the federal minimum wage. But, differences in damages are
13
     wholly immaterial to conditional certification. See, e.g., Gieseke v. First Horizon Home Loan Corp.,
14
     408 F.Supp.2d 1164, 1168 (D. Kan. Jan. 10, 2006) (“’Individual differences in damages are not to be
15
     considered when ruling on conditional certification and "will not defeat [conditional] class
16
     certification . . . unless that issue creates a conflict which goes to the heart of the lawsuit.’" (edit in
17
     original) (quoting Brown v. Money Tree Mortg., Inc., 222 F.R.D. 676, 679 (D. Kan. 2004)); Smith v.
18   Pizza Hut, Inc., 2012 U.S. Dist. LEXIS 56987, *18 (D. Colo. Apr. 21, 2012) (“The mere possibility
19   that some members of the proposed class may have different damages (or no damages at all) is not
20   reason to refuse to notify all potential class members in the first instance.”); see also Juvera v.
21   Salcido, 2013 U.S. Dist. LEXIS 48867, *14 (D. Ariz. Apr. 4, 2013) (differences in damages do not
22   preclude Rule 23 class certification).
23           4.      Defendants’ Assertions of Individualized Inquiries Regarding Wage Rates
24           Again, Defendants improperly seek to skip directly to the second stage by urging the Court

25   to consider individualized inquiries. This Court recently held that the second stage determination

26   “involves several factors, including the disparate factual and employment settings of the individual

27   employees; the defenses available to the employer that apply to different employees differently; and

28   fairness and procedural considerations.” Flores, 2013 U.S. Dist. LEXIS at *15. “Thus,
                                                      9
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 1   individualized inquiries into each plaintiff's claims do not occur until discovery has closed.” Small

 2   v. Univ. Med. Ctr. of S. Nev., 2013 U.S. Dist. LEXIS 84840, *5-6 (D. Nev. Jun. 14, 2013); see also

 3   Otey v. CrowdFlower, Inc., 2013 U.S. Dist. LEXIS 65813, *5 (N.D. Cal. May 8, 2013); Doc. 90, at

 4   3; Flores, 2013 U.S. Dist. LEXIS at *21 (individual inquiries must await second stage). In

 5   particular, this District has repeatedly and expressly refused to consider contentions of

 6   individualized inquiries until the second stage. See, e.g., Luque, 2010 U.S. Dist. LEXIS at *12-13;
     Harris, 716 F.Supp.2d at 841-42 (collecting cases).3
 7
            Similarly, Defendants contend that determining the amount of work time requires individual
 8
     analysis. Defendants make that claim only because they admittedly failed to keep records of work
 9
     time in accordance with the FLSA and its regulations. 29 U.S.C. § 211(c); 29 C.F.R. § 516.2.
10
     Again, individualized inquiries are not considered at this stage. Small, at *5-6; Luque, at *12-13,
11
     Harris, at 841-42.4
12
            5.      The De Minimis Defense
13
            Defendants attempt to prematurely rely on the de minimis defense, contending that it will
14
     entail individual inquiries. However, this Court already recognized in this suit that individualized
15
     defenses are not considered until the later second stage. Otey v. CrowdFlower, 2013 U.S. Dist.
16
     LEXIS 52530, at *5; Doc. 90, at 3. Moreover, judges in this District repeatedly and expressly refuse
17
     to consider arguments about individualized inquiries at the conditional certification stage, finding
18   that such arguments go to the merits and are better addressed at the second stage, after discovery has
19   closed. See Id.; Sanchez v. Sephora USA, Inc., 2012 U.S. Dist. LEXIS 99924, *11-12 (N.D. Cal. Jul.
20   18, 2012) (collecting cases from N.D. Cal.); Santiago v. Amdocs, Inc., 2011 U.S. Dist. LEXIS
21   146126, *20-21 (N.D. Cal. Dec. 19, 2011) (same). This District has specifically refused to consider
22   individualized inquiries as part of the de minimis defense at the conditional certification stage.
23   Escobar v. Whiteside Constr. Corp., 2008 U.S. Dist. LEXIS 68439, *12-13 (N.D. Cal. Aug. 21,
24
25   4
       FLSA defendants are not permitted to benefit from their own failure to keep required records, including
     required records of work time. 29 U.S.C. § 211(c); 29 C.F.R. § 516.2; Reich v. Stewart, 121 F.3d 400, 406
26   (8th Cir. 1997) (defendants cannot benefit from their own recordkeeping failures) (citing Mumbower v.
     Callicott, 526 F.2d 1183, 1187 (8th Cir. 1975)). Actually, the number of hours worked can easily and
27   reasonably be approximated from payment records and Defendants’ written “$2.00 per hour benchmark” for
     pay (e.g., total pay over the recovery period / $2.00 = reasonable approximation of hours worked), among
28   other methods. Exs. 25 & 26.
                                                      10
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 1   2008) (“All plaintiffs had to do was to make the substantial allegation that putative class members

 2   were victims to a single illegal policy, plan, or decision. That they did…”); accord Allen v. City of

 3   Chi., 2013 U.S. Dist. LEXIS 5394, *25-26 (N.D. Ill. Jan. 14, 2013) (refusing to consider the de

 4   minimis defense at the conditional certification stage); Bouphakeo v. Tyson Foods, 564 F.Supp.2d

 5   870, 899 (N.D. Iowa 2008) (de minimis defense does not disfavor conditional certification).5 The de

 6   minimis defense is inapplicable at this time.6

 7           6.      Substantiality of Plaintiffs’ Evidence
             In Flores, this Court recently found that evidence of some indicators of employment status
 8
     was sufficient for conditional certification in a misclassification claim:
 9
             Plaintiffs have alleged, and Defendants do not dispute, that each individual delivery
10           driver signed an independent contractor agreement, subjecting them to a uniform
             company policy of treating them as exempt workers under FLSA. Plaintiffs have also
11           alleged, and averred in sworn declarations, that the delivery drivers were all required
             to wear Velocity uniforms, display the company logo, keep regular routes and hours,
12           pay Velocity for equipment, permit Velocity to deduct from their paychecks income
             and payroll taxes, and arrive at certain times in advance of their shifts. In other
13           words, Plaintiffs have alleged that each member of the proposed class was "similarly
             situated" with respect to the material allegations of the complaint. Flores, 2013 U.S.
14           Dist. LEXIS at *16-17.
15

16
     5
       Defendants admit that courts consider the “aggregate amount involved in the litigation.” Doc. 131, at 24
17   (citing Lindow v. U.S., 738 F.2d 1057, 1062-63 (9th Cir. 1984)). Specifically, the federal courts interpret
     “aggregate amount involved in the litigation” on a class-wide basis. See, e.g., Bouaphakeo, 2011 U.S. Dist.
18   LEXIS at *30-31 (“With respect to the second factor, whether the aggregate amount of potentially
     compensable work is significant, i.e., several hundred employees per day at three-plus minutes per employee,
19   presents a fact question. Finally, the alleged additional work at issue occurs every day.”). Because the
     aggregate time over the class is considered, de minimis time is in fact a class-wide issue. See also, e.g., see
20   also, e.g., Burch v. Qwest Commun’s. Int’l., 677 F.Supp.2d 1101, 1121 (D. Minn. 2009) (de minimis defense
     is a legal question properly resolved on a class-wide basis). Also, in this case, the consideration of
21   practicability of tracking work time can also be determined on a class-wide basis. Lindow, at 1062-63.
     6
       An employer bears the burden of proof for affirmative defenses under the FLSA. Corning Glass Works v.
22   Brennan, 417 U.S. 188, 196-97 (1974). This includes proving the de minimis affirmative defense. Wren v.
     RGIS Inventory Specialists, 2009 U.S. Dist. LEXIS 74789, *82 (N.D. Cal. Aug. 24, 2009). However,
23   Defendants expressly admit that they “cannot reliably determine time spent performing a task” and they have
     “no way of tracking the amount of time actually spent by a Contributor performing any given task.” Doc.
24   131, at 7 (caps removed). Therefore, the de minimis defense should be disregarded because Defendants admit
     they cannot prove that the “aggregate amount of compensable time” is de minimis. Lindow, 738 F.2d at 1062-
25   63. Also, Defendants admission of lack of ability to reliably determine work time is another factor common
     to all of its workers. Doc. 131, at 7.
26             Moreover, Plaintiffs have filed motions alerting the Court that several of Defendants’ affirmative
     defenses, including the de minimis defense, should be stricken because Defendants fail to sufficiently plead
27   facts showing that the de minimis defense is plausible. Docs. 71 & 94. Plaintiffs incorporate those arguments
     by reference. Id. Plaintiffs will file a similar motion if Defendants’ response to the Second Amended
28   Complaint similarly fails to plead sufficient facts.
                                                      11
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 1   Plaintiffs have present a much greater quantum of evidence of employment status, and more-
 2   convincing evidence, than found sufficient in Flores. Plaintiffs have already shown that many of the
 3   same core policies, practices and treatment apply to Defendants’ workers on a company-wide basis.

 4   Doc. 123, at 2. Contrary to Defendants’ gross mischaracterization, Plaintiffs do not simply rely on
 5   uniform classification of their workers as “independent contractors.”
 6          The cases relied upon by Defendants are inapplicable. The plaintiffs in both Silverman v.

 7   SmithKline Beecham Corp., 2007 U.S. Dist. LEXIS 80030, *7-8 (C.D. Cal. Oct. 16, 2007) and

 8   Sheffield v. Orius Corp., 211 F.R.D. 411, at *6 (D. Or. 2002) failed to present evidence applicable to

 9   other subsidiaries or business units. In stark contrast, Judge James has already determined that

10   Plaintiffs’ evidence suggests company wide-treatment which underlies the claims. Doc. 123, at 2.

11          Defendants errantly seek to disregard Plaintiffs’ evidence as mere “hearsay.” However,
     Defendants completely ignore the fact that Plaintiffs rely on public statements by the individual
12
     Defendants, CrowdFlower, and CrowdFlower executives which constitute admissible admissions
13
     by a party opponent (Fed. R. Evid. 801(d)(2)) and statements against interest (Fed. R. Evid.
14
     804(d)(3)). FLSA claims are frequently certified based on such admissions. See, e.g., Nicholson v.
15
     UTi Worldwide, Inc., 2011 U.S. Dist. LEXIS 761, *12-13 (S.D. Ill. Jan. 26, 2011) (granting nation-
16
     wide conditional certification based on trainers’ representations of a company-wide policy);
17
     Nicholson v. UTi Worldwide, Inc., 2011 U.S. Dist. LEXIS 49890, *26 (S.D. Ill. May 10, 2011)
18
     (granting nation-wide certification under more stringent Rule 23 standard based on trainers’
19
     admissions of a company-wide policy); Musarra v. Digital Dish, Inc., 2008 U.S. Dist. LEXIS
20
     110003, *11-12 & n.7 (S.D. Ohio Mar. 24, 2008) (granting conditional certification based on
21
     declarants’ recitation of instructions by trainers and managers because those statements were
22
     admissions by a party opponent).
23          Plaintiffs also largely rely on Defendants’ own public and internal documents which reveal
24   company-wide policies and practices, but Defendants simply ignore those documents. Exs. 2
25   (Defendants’ privacy policy); 12 (Defendants’ terms of use); 14 (Defendants’ contributor channel
26   handbook); 15 (Defendants’ job instructions); 16 (Defendants’ FAQ’s); 21-27 (Defendants’ internal
27   operating documents); 28 (Defendants’ press release); 29 (Defendants’ website content).
28
                                                     12
        PLAINTIFFS’ REPLY IN SUPPORT OF MOTION FOR CONDITIONAL COLLECTIVE ACTION CERTIFIATION AND
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 1           Defendants point to Plaintiffs’ lack of declarations. However, this Court has recognized that

 2   the scope of evidence which may support conditional certification is far broader than just

 3   declarations. See, e.g., Flores, 2013 U.S. Dist. LEXIS at *14 (“declarations or discovery”).

 4           Defendants broadly claim that Plaintiffs’ rely on “generalized statements taken out of context

 5   or misconstrued from industry advertising.” Doc. 131, at 27. However, Defendants glaringly fail to

 6   explain how any of their own public representations means something other than represented by
     Plaintiffs. In fact, Defendants actually attack the credibility of their own public statements. Still, the
 7
     Court should not make credibility determinations at this stage. See, e.g., Santiago, 2011 U.S. Dist.
 8
     LEXIS at *21-22; Luque, 2010 U.S. Dist. LEXIS at *16 n.7.
 9
             B.      No Showing of Interest is Needed
10
             No showing of interest by others is needed. This District has consistently rejected arguments
11
     that FLSA plaintiffs must show that others are interested in joining a collective action to obtain
12
     conditional certification. Harris, 716 F.Supp.2d at 839 (“The fact that other potential class members
13
     have not affirmatively stated a desire to opt in does not preclude conditional certification.”); Mowdy
14
     v. Beneto Bulk Transp., 2008 U.S. Dist. LEXIS 26233, *22-23 (N.D. Cal. Mar. 31, 2008)
15
     (dismissing argument that plaintiffs must demonstrate opt-in interest prior to conditional
16
     certification, finding that “[a]s a practical matter it would make little sense to require plaintiffs to
17
     have the knowledge they attempt to obtain by gaining approval of notice from the court.”). After an
18
     isolated 2007 decision by the Central District of California cherry-picked by Defendants, this
19
     District and the other District Courts in this Circuit to consider the issue including the Central
20
     District of California itself, have consistently rejected any assertion of a requirement of a showing
21
     others’ interest to obtain conditional certification. See, e.g., Sanchez, 2012 U.S. Dist. LEXIS at *13-
22
     14; Lewis v. Nev. Property 1, LLC, 2013 U.S. Dist. LEXIS 8945, *26-27 (D. Nev. Jan. 22, 2013);
23
     Davis v. Social Serv. Coordinators, Inc., 2012 U.S. Dist. LEXIS 155559, *60-62 (E.D. Cal. Oct. 30,
24
     2012) (“The lack of other consenting opt-in plaintiffs or a demonstrated interest by others in joining
25
     the suit is irrelevant at this stage of the proceedings.”); Fenn v. Hewlett-Packard Co., 2012 U.S.
26
     Dist. LEXIS 69398, *10-11 (D. Idaho May 17, 2012); Carrillo v. Schneider Logistics, Inc., 2012
27
     U.S. Dist. LEXIS 26927, *46-47 (C.D. Cal. Jan. 31, 2012); Gomez v. H&S Gunlund Ranches, Inc.,
28
                                                     13
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 1   2010 U.S. Dist. LEXIS 137736, *13-15 (E.D. Cal. Dec. 16, 2010); Hoffman v. Securitas Sec. Servs.,
 2   2008 U.S. Dist. LEXIS 123883, *13 (D. Idaho Aug. 27, 2008) (“[S]uch a threshold requirement
 3   strikes this Court as contradictory to the very notion of providing notice to potential plaintiffs of the

 4   opportunity to become part of a collective action - what the FLSA expressly provides” (emphasis in
 5   original)); Delgado v. Ortho-McNeil, 2007 U.S. Dist. LEXIS 74731, *4-5 (C.D. Cal. Aug. 6, 2007).
 6          Fenn and other cases within this Circuit recognize the obvious:

 7          Until potential class members know about the lawsuit, it is difficult to know whether
            they would be interested in joining. Thus, the Court agrees that “requiring named
 8          plaintiffs to proffer evidence that others desire to opt in before sending notice to
            potential class members puts the named plaintiff in the ‘ultimate chicken and egg
 9          dilemma.’” Davis v. Westgate Planet Hollywood Las Vegas, 2009 U.S. Dist. LEXIS
            5941, at *12 (D. Nev. Jan. 12, 2009) (citing Kinney Shoe Corp. v. Vorhes, 564 F.2d
10          859 (9th Cir. 1977), abrogated on other grounds, Hoffman-La Roche v. Sperling, 493
            U.S. 165, 110 S.Ct. 482, 107 L.Ed.2d 480 (1989)).
11
     Fenn, 2012 U.S. Dist. LEXIS at *10-11; see also, Harris, 716 F.Supp.2d at 838 (same). Cases from
12
     within this Circuit also recognize lack of any requirement to show interest outside the Eleventh
13
     Circuit. See, e.g., Carrillo, 2012 U.S. Dist. LEXIS at *47; Hoffman, 2008 U.S. Dist. LEXIS at *12-
14
     13. Notably, Defendants have consistently informed members of the putative conditional class that
15
     CrowdFlower is not their employer and that they are not employees, thereby discouraging them from
16
     participation. These workers work remotely from their homes and have no opportunity to discuss
17
     their employment status with others similarly situated.
18
            Finally, Defendants’ reliance on publicity garnered by this suit is completely misplaced.
19
     None of that publicity informs putative class members of the FLSA’s unique requirements, including
20
     the need to opt-in in writing, or any rights conferred under the FLSA. That is the purpose of court-
21
     approved notice, not the press.
22
            C.      Form of the Notice
23          Defendants argue for notice by mail, rather than notice by email. They seek to deter
24   Plaintiffs by drastically increasing the cost of disseminating notice, and reduce real notice to affected
25   workers whose residential addresses they may not have, but whose email and IP addresses are within
26   their possession, custody and control. Defendants’ purported limitations on their ability to obtain
27   email addresses are disingenuous based on the discovery produced. For example, one of the initial
28   steps required for any worker to log into AMT (or register, as a first-time AMT user) is to provide
                                                     14
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 1   his or her email address. Ex. 31, 55:11-25. The Effgen Declarations make it clear that workers

 2   performing services for CrowdFlower through AMT are required to and do register on AMT’s

 3   website as providers. (Dkt 131-11, ¶ 3; Dkt 131-13, ¶ 3). CrowdFlower’s form Contributor Channel

 4   Agreement expressly obligates Contributor Channels to “[p]rovide CrowdFlower with all

 5   information about Contributors reasonably requested by CrowdFlower, including without limitation

 6   demographic information about Contributors and the number of Contributors engaged by Channel
     (“Contributor Data”). (Dkt 131-3, ¶3d.)7 Thus, even if Defendants’ lack actual possession of the
 7
     information, they may obtain it upon request.8
 8
             Defendants fail to provide any reason that notice by mail is superior to notice by email, other
 9
     than asserting a “one size fits all” argument that mailing notice is usually appropriate. The federal
10
     Courts recognize that instead of a presumption that notice by mail is preferable, “’the better course is
11
     to determine what constitutes fair and proper notice on the facts of each case.’” Stuven v. Tex. De
12
     Brazil (Tampa) Corp., 2013 U.S. Dist. LEXIS 22240, *16-17 (M.D. Fla. Feb. 19, 2013). This
13
     District and other federal courts further recognize that notice by email may be “particularly
14
     appropriate” when the class members are “likely to be … comfortable communicating by email and
15
     thus this form of communication is just as, if not more, likely to effectuate notice than first class
16
     mail.” Lewis, 669 F.Supp.2d at 1128-29; Browning v. Yahoo! Inc., 2006 U.S. Dist. LEXIS 100686,
17
     *24-32 (N.D. Cal. Dec. 27, 2006) (approving email and website posting based on finding that such
18   methods are “particularly suitable” where the class members’ allegations arose from their visits to a
19   website); see also Butler v. DirectSat USA, LLC, 876 F.Supp.2d 560, 575 (D. Md. Apr. 10, 2012).
20   Since Plaintiffs’ motion for conditional certification was filed in January 2013, this District
21   continues to authorize class notice by email. See, e.g., Lagarde v. Support. com, Inc., 2013 U.S.
22   Dist. LEXIS 42725, *6-7 (N.D. Cal. Mar. 26, 2013); see also, e.g., Allerton v. Sprint Nextel Corp.,
23
24
     7
      It should be noted that the Channel Partner Agreement exhibit, D.E. No. 131-3, identified as Bates No.
25   CF000651-657 was part of a production of documents served by Defendants by U.S. Mail on June 27, 2013 –
     one day before the filing of Defendants’ Opposition – which due to the method of service selected, the first
26   opportunity Plaintiffs had to view that document was in Defendants’ filing.
27   8
       Simmons v. Adams, 2013 U.S. Dist. LEXIS 84429, *10 (E.D. Cal. Jun. 14, 2013) (explaining that control
     need not be actual, but rather property is in a party’s “possession, custody, or control” if it has the right to
28   obtain it on demand); Allen v. Woodford, 2007 U.S. Dist. LEXIS 11026, *4 (E.D. Cal. Jan. 30, 2007) (same).
                                                      15
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 1   2009 U.S. Dist. LEXIS 132454, *45-46 (D. Nev. Nov. 16, 2009) (rejected reasons against notice by

 2   email); Jones v. JGC Dallas LLC, 2012 U.S. Dist. LEXIS 185042, 18-19 n.9 (N.D. Tex. Nov. 29,

 3   2012) (collecting cases ordering notice by email).

 4          Again, potential class members are very familiar with the internet as they work on-line.

 5   Defendants own exhibits show that they consider email, rather than mail, a sufficient method of

 6   communication with their own workers and CCPs. See, e.g., Dfd.’s Ex. K (emails with Plaintiff
     Greth); Ex. M (email to “contributor channel partners”). Defendants’ concerns regarding over-
 7
     inclusiveness of any class list are addressed by the proposed notice itself, which states the scope of
 8
     the class. Defendants argue against posting notice on CrowdFlower’s website because “Plaintiff
 9
     Otey himself testified that he did not visit CrowdFlower’s website before going to AMT’s website to
10
     perform tasks.” Doc. 131, at 31. That argument is not only illogical, but ignores that Mr. Otey
11
     testified that he has in fact viewed CrowdFlower’s website. Ex. 31, 183:23-184:8.
12
            Defendants seek to rely on the minority view that a plaintiff must show that dissemination of
13
     notice by mail is insufficient to also notify class members through postings. See, e.g., Simmons v.
14
     Enterprise Hldgs., 2011 U.S. Dist. LEXIS 37504, * 5 (E.D. Mo. Apr. 6, 2011) (“the better course is
15
     to determine what constitutes fair and proper notice based on the facts of each case” (citing Mowdy))
16
     and “’[a]t this stage of the litigation, justice is most readily served by notice reaching the largest
17
     number of potential plaintiffs.’”) (quoting Kautsch v. Premier Commun’s., 504 F.Supp.2d 685, 690
18   (W.D. Mo. 2007)). The out-of-circuit cases relied upon by Defendants contradict recent holdings of
19   this District and other Courts within this Circuit. Juvera, 2013 U.S. Dist. LEXIS at *18-19 (mailing
20   and workplace posting of notice without showing that notice by mail is insufficient); Santiago v.
21   Amdocs, Inc., 2012 U.S. Dist. LEXIS 85617, *8 (N.D. Cal. Jun. 20, 2012) (mailing and posting of
22   notice and consent forms without showing that notice by mail is insufficient); Carrillo, 2012 U.S.
23   Dist. LEXIS at *49-51 (same). Moreover, even under Defendants’ authorities, Defendants’ repeated
24   suggestions that email notice will be unreliable or insufficient justify posting.

25          D.      Cost of Notice

26          Plaintiffs will pay the cost of disseminating notice by email. However, the cost of compiling

27   the list of names and email addresses must be borne by Defendants.

28          Defendants seek an unfair windfall from their own recordkeeping failures. The FLSA
                                                     16
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 1   requires recordkeeping, including but not limited to, workers’ names or an “identifying symbol or

 2   number if such is used in place of name on any time, work, or payroll records” and “[h]ome address,

 3   including zip code.” 29 U.S.C. § 211(c); 29 C.F.R. 516.2(a)(1) & (2). Defendants admit they fail to

 4   keep those records. Defendants should not be permitted to benefit from their own failure to keep

 5   required records. Reich, 121 F.3d at 406.

 6           Defendants mainly rely on Rule 23 cases in which there were no recordkeeping requirements,
     unlike FLSA claims. This is why this District has consistently ordered production of FLSA class
 7
     lists without shifting the burden or expense of producing those lists to the Plaintiffs. See, e.g.,
 8
     Flores, 2013 U.S. Dist. LEXIS at *31; Ramirez, 2013 U.S. Dist. LEXIS at *32-33; Luque, 2010 U.S.
 9
     Dist. LEXIS at *21.
10
             Sullivan v. Kelly Servs., Inc., cited by Defendant is inapposite. 2011 U.S. Dist. LEXIS 2189
11
     (N.D. Cal. Jan. 5, 2011). This District ordered the Defendants to pay the cost of notice
12
     dissemination, not just the cost of producing the list of recipients, because summary judgment had
13
     already been entered in the plaintiff’s favor. Id., at *2-3. In both Sullivan and Daniels v.
14
     Aeropostale West, there was no dispute about the effort or cost of identifying class members. Id.;
15
     2013 U.S. Dist. LEXIS 59514 (N.D. Cal. Apr. 24, 2013). This District merely ordered the plaintiffs
16
     to payment of the cost of disseminating the notices. Id.9
17
             Defendants’ assertion of a great expense of identifying the class members is greatly
18   exaggerated. Plaintiffs’ counsel performed a similar task involving subpoenaing comprehensive
19   employment records from 25 staffing agencies around the nation. That task was accomplished for
20   out-of-pocket expenses totaling $1,610.00 plus a nominal amount of postage for mailing subpoenas
21   to various process servers. Ex. 33, ¶ 2. Subpoenas are not even needed here because Defendants’
22   have the contractual right to obtain the information from their CCPs on request. Large classes
23   consisting of millions of class members, even 4,000,000 potential class members, is not
24   unprecedented in class action litigation and size alone should not be a deterrent; in fact, such weighs

25

26
     9
       One court within this Circuit even imposed the full cost of disseminating notice on Defendants. Carrillo,
27   2012 U.S. Dist. LEXIS at *51-52 (imposing full cost of FLSA notice on the defendants because the plaintiffs
     established likelihood of success on the merits).
28
                                                      17
         PLAINTIFFS’ REPLY IN SUPPORT OF MOTION FOR CONDITIONAL COLLECTIVE ACTION CERTIFIATION AND
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 1   in favor of the need for collective action to vindicate the alleged wrong.10

 2            E.     Other Notice Issues

 3            In a footnote, Defendants seek later opportunity to “comment upon the proposed

 4   notice form.” Doc. 131, at 29, n.7. This is a “stall tactic” and such efforts have been rejected

 5   by the federal courts and deemed as waiver of a response. See, Nobles v. State Farm, 2011

 6   U.S. Dist. LEXIS 131448, *2-3 (W.D. Mo. Nov. 15, 2011) (finding State Farm waived its
     arguments of notice deficiencies since it failed to raise them in its opposition briefing). The
 7
     Federal Rules do not provide for piecemeal litigation, nor can Defendants avoid their
 8
     obligation to respond to a pending motion by telling the Court that it will not address the
 9
     question until the Court first resolves some other issues in the litigation.
10
                                          IV.      CONCLUSION
11
              Plaintiffs’ motion to conditionally certify should be grated for all reasons aforestated
12
     and notice should be ordered in the form previously proposed by Plaintiffs.
13

14
     Dated: July 5, 2013                     By:    s/ Mark A. Potashnick
15                                                     Mark A. Potashnick (MO Bar #41315)
                                                      (admitted pro hac vice)
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19                                                    Email: markp@wp-attorneys.com

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22

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25   10
       In a consumer class action case against largely-Internet based company, Schlesinger v. Ticketmaster (Sept.
26   2012) 2012 WL 4739283, the Los Angeles Superior Court recently approved settlement whereby 50,741,092
     notices were emailed to class members. In fact, to improve deliverability, emails were sent at a daily volume
27   “of not more than 4,200,000 emails per day.” Id. In other words, the third-party administrator in Schlesinger
     emailed daily that which constitutes the estimated entire class size here.
28
                                                        18
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 1                                  CERTIFICATE OF SERVICE
 2
            The undersigned hereby certifies that the foregoing was served via the Court’s
 3   electronic case filing system on the following attorneys of record on the date reflected in the
     Court’s electronic case filing records:
 4
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16                                              /s/ Mark Potashnick
                                                ATTORNEY FOR PLAINTIFF
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                                                     1
       PLAINTIFFS’ REPLY IN SUPPORT OF MOTION FOR CONDITIONAL COLLECTIVE ACTION CERTIFICATION AND
                             DISSEMINSATION OF NOTICE PURSUANT TO 29 U.S.C. 216(b)
